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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Ameristar Casino East Chicago LLC, et al.
                                                Plaintiff,
v.                                                            Case No.: 1:16−cv−05379
                                                              Honorable Manish S. Shah
UNITE HERE Local 1
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 13, 2018:


       MINUTE entry before the Honorable Manish S. Shah: Status hearing held.
Damages fact discovery must be completed by 3/31/19. All expert discovery must be
noticed in time to be completed by 7/31/19. Status hearing continued to 2/19/19 at 9:30
a.m. Notices mailed. (jk, )




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